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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK

    In re:                                                     Chapter 11

    THE GREAT ATLANTIC & PACIFIC TEA                           Case No. 15-23007-rdd
    COMPANY, INC., et al.,1
                                                               Jointly Administered
                    Debtors.
    THE GREAT ATLANTIC & PACIFIC TEA                           Adv. Pro. No. 18-8245-rdd
    COMPANY, INC., et al.,
                     Plaintiff,

             - against –

    PEPSICO, INC.; BOTTLING GROUP, LLC
    (d/b/a Pepsi Beverages Company and f/d/b/a The
    Pepsi Bottling Group); FRITO-LAY NORTH
    AMERICA, INC.; QUAKER SALES AND
    DISTRIBUTION, INC.; MULLER QUAKER
    DAIRY, LLC; STACY’S PITA CHIP
    COMPANY, INC.; PEPSI BOTTLING GROUP,
    NJ; and PEPSI USA,

                            Defendants.

                 THIRD AMENDED SCHEDULING AND PRETRIAL ORDER

       The parties cannot amend this order by stipulation or otherwise, and the Court will
not amend it unless presented with (i) proof of cause beyond the control of the party
seeking amendment and (ii) timely application as soon as possible after the party seeking
amendment learns of the cause. FAILURE TO COMPLY WITH THIS ORDER MAY
RESULT IN DISMISSAL OR OTHER SANCTION. If delay or other act or omission of
your adversary may result in a sanction against you, it is incumbent on you to promptly
bring this matter to the Court for relief.

        It is hereby ORDERED as follows:

       1.      Pursuant to Rule 16(b)(3)(A), the deadline to join other parties or amend the
pleadings shall be December 21, 2018.


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  The Debtors are: 2008 Broadway, Inc.; The Great Atlantic & Pacific Tea Company, Inc.; A&P Live Better, LLC;
A&P Real Property, LLC; APW Supermarket Corporation; APW Supermarkets, Inc.; Borman’s, Inc.; Delaware
County Dairies, Inc.; Food Basics, Inc.; Kwik Save Inc.; McLean Avenue Plaza Corp.; Montvale Holdings, Inc.;
Montvale-Para Holdings, Inc.; Onpoint, Inc.; Pathmark Stores, Inc.; Plainbridge LLC; Shopwell, Inc.; Super Fresh
Food Markets, Inc.; The Old Wine Emporium of Westport, Inc.; Tradewell Foods of Conn., Inc.; and Waldbaum,
Inc.

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     2.      This matter is hereby immediately referred for mediation as follows:

  a) The Plaintiffs and Defendants shall jointly agree on a mediator by no later than May 21,
     2020.

  b) In the event that the Plaintiffs and Defendants are unable to agree to a mediator, they
     shall each submit a list of three mediators to the Court, and the Court shall choose a
     mediator and an alternate in the event of a conflict precluding the mediator’s service as a
     mediator. To facilitate any necessary choice of a mediator by the Court, before
     submitting their respective lists of mediators, the Plaintiffs shall contact the mediators on
     their list and provide each prospective mediator with a copy of the Second Amended
     Complaint in this action to permit the prospective mediator to determine if any conflicts
     exist that would preclude the prospective mediator from serving as mediator.

  c) The mediation shall take place no later than July 31, 2020.

  d) If possible, the mediation will take place in person.

  e) If the mediation takes place in person, it will take place in a location within the City of
     New York at a location agreed to by the Plaintiffs, Defendants and the Mediator.

  f) If the COVID-19 emergency prevents the mediation from taking place in person, the
     mediation shall take place via teleconference, videoconference or via such other
     appropriate means to which the parties agree.

  g) Under no circumstances will the mediation take place after July 31, 2020, unless the
     Plaintiffs, the Defendants and the Mediator agree, each in their sole discretion, to a later
     date.

  h) The cost of the mediation shall be borne equally by the parties, with the Plaintiffs paying
     50% of the costs and the Defendants paying 50% of the costs, with each party bearing its
     own costs.

  i) The procedures for the conduct of the mediation, including the timing and exchange of
     mediation reports, will be set by the Mediator; provided, that an absolute mediation
     privilege shall apply and, further, the Mediator shall not communicate anything to the
     Court regarding the mediation with the exception of (a) the parties who attended and
     whether the mediation resulted in an agreement, (b) the exceptional circumstance of a
     party’s not negotiating in good faith, and (c) otherwise as expressly authorized by the
     parties.

  j) All mediation communications, whether written, oral or electronic, shall remain
     confidential and any such communications shall be inadmissible before this or any other
     Court or tribunal.

     3.      Discovery in this Adversary Proceeding shall be stayed as follows:

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   a) Factual and expert depositions shall not be noticed for a date earlier than the later of 90
      days from August 31, 2020 or the conclusion of the mediation for which provision is
      made in paragraph 2 above.

   b) The parties to this Adversary Proceeding shall not serve on each other additional requests
      for admission, interrogatories or requests for production any earlier than the later of 90
      days from August 31, 2020 or the conclusion of the mediation for which provision is
      made in paragraph 2 above.

   c) Notwithstanding the provisions of subsections 3(a) and 3(b) immediately above, the
      parties to this Adversary Proceeding shall respond in full to requests for admissions,
      interrogatories and requests for production served on them prior to October 1, 2019.

        4.      All fact discovery shall be completed by February 28, 2021. In the event of a
dispute over discovery, the parties’ counsel shall promptly confer to attempt in good faith to
resolve the dispute. If, notwithstanding their good faith efforts to do so, they are unable to
resolve a discovery issue, they shall promptly inform the Court by letter of the nature of the
dispute and request a telephonic discovery conference. At the conference, the Court will ask the
parties about their prior efforts to resolve the dispute.

       5.      The parties shall identify expert witnesses and serve the written reports or
disclosures required by Rule 26(a)(2)(B)-(C) by February 28, 2021. Expert depositions shall be
completed by March 31, 2021.

        6.      The parties shall identify any rebuttal expert witness who will testify solely in
opposition to the experts and opinions disclosed pursuant to Paragraph 5 above, and serve the
related written reports or disclosures required by Rule 26(a)(2)(B)-(C), by March 31, 2021.

        7.      Either or both parties may seek leave under the Local Bankruptcy Rules to move
for summary judgment (other than a motion for summary judgment asserting the expiration of
applicable statutes of limitations) under Rule 56 after completion of discovery and before taking
the steps set forth in Paragraphs 8-11 below. If such request is granted, the parties shall schedule
the adjourned final pretrial conference to take place approximately one month after the scheduled
hearing on summary judgment.

        8.      The Court will hold a final pretrial conference on May 19, 2021, at 10:00 a.m.
(unless a party has previously obtained permission under the Local Bankruptcy Rules to move
for summary judgment, which motion shall be heard at that date and time), at which time the
parties must be prepared to proceed to trial within two weeks.

       9.       In advance of the final pretrial conference, the parties shall have conferred and
used their best efforts to agree on a joint exhibit book and shall have identified any exhibits
whose admissibility is not agreed.

        10.     In addition, on or before two weeks before the final pretrial conference, the
parties shall have exchanged proposed witness lists.


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        11.    On or before one week before the scheduled trial date, the parties shall (a) submit
to chambers declarations under penalty of perjury or affidavits of their direct witnesses, who
shall be present at trial for cross-examination and redirect, or have sought the Court’s permission
to examine direct witnesses at trial, and (b) submit to chambers the joint exhibit book referred to
in Paragraph 9 hereof.

Dated:    May 19, 2020
          White Plains, New York
                                                     s/Robert D. Drain
                                                     Honorable Robert D. Drain
                                                     United States Bankruptcy Judge




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